     Case 1-24-44027-ess             Doc 62      Filed 12/05/24   Entered 12/05/24 16:04:00




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------X
 In re:

 ONE EDGE MARINA FINANCE                                          Chapter 11
 COMPANY LLC, et. al.,                                            Lead Case No. 24-44027-ESS
                                                                  Jointly Administered
                                       Debtors.
 ---------------------------------------------------------X


                                 AUCTIONEER’S REPORT OF SALE

   Auction Date & Time:               December 6, 2024 at 11:20 AM ET.

   Location:                          Conference Room of Akerman LLP, 1251 Ave. of the
                                      Americas; 37th FL; New York NY 10020
                                      Remote Bidding via Webex.

   Assets Sold:                       Substantially all of the assets of One15 Brooklyn Marina
                                      LLC, One15 Brooklyn Sail Club LLC & One 15 Restaurant
                                      LLC

   Upon engagement, Auction Advisors promptly launched an extensive high-intensity sales
   & marketing campaign that included print media, electronic media, social media,
   telemarketing, direct solicitation, and other marketing and promotional activities. This
   campaign culminated in a simultaneous live and virtual auction taking place via Webex
   commencing at 11:00 AM on December 4, 2024.

                                        Pre-Auction
   Customized Marketing. Advertising for this auction was targeted towards marina
   owners and operators, but also included general national outreach. The following is a
   summary of our efforts:

                    Social Media. A strong and focused social media campaign utilizing
            Google, Facebook Marketing & LinkedIn, as well as other platforms, was
            developed targeting prospective buyers interested in this type of property, both
            locally and nationally.

                   Electronic Media. We made extensive use of all relevant electronic media
            available and broadly exposed the property to local, regional and national
            audiences through the premier high traffic sites including premium placement on
            CoStar/LoopNet, PropertyAuction.com, CREXI, and BizBuySell. These listings
            are syndicated to 100s of other websites.
  Case 1-24-44027-ess        Doc 62      Filed 12/05/24      Entered 12/05/24 16:04:00




              Direct Solicitation. We used our own proprietary list of auction buyers,
       and sourced email lists of marina owners and operators, notifying 1000s of
       prospective buyers about the upcoming auction. Brokers were also reached out to
       and encouraged to register any potential client they feel would be interested.

               Data Room/Inspections. We prepared promotional materials with respect
       to the assets being sold and facilitated access to a data room with a full range of
       diligence materials. We also offered inspection opportunities in the weeks
       leading up to the auction sale, giving all interested parties the ability to inspect the
       property and perform the appropriate level of due diligence. Also posted were
       information and materials related to the auction, such as form of asset purchase
       agreement and the bidding procedures approved by the Bankruptcy Court (the
       “Bidding Procedures”).

Bidder Registration. Of the many visitors to our website from people looking for basic
information, we had 36 potential bidders “register” their interest with us by providing us
with their contact information, and opting-in to be put on the list of people who want to
stay notified about the auction.

Pre-Qualifying Bids.
In addition to the stalking horse bid from Radcliff Management LLC (“Radcliff”), we
received one (1) other conforming qualified bid by the pre-qualification deadline of
Monday, December 2, 2024 at 4:00 PM. That was a $2,181,900 competing bid from SMI
Properties Group LLC (“SMI”).

                                 Auction Results
We commenced the auction at approximately 11:20 AM on December 4, 2024. The
auction was conducted live with Radcliff bidding from the conference room where the
auction was being held, and SMI bidding virtually via Webex connected to the
conference room.

Auction Advisors began by reviewing the rules of the auction, and repeating the main
section of the Bidding Procedures. Prior to the opening of the auction, each person in the
conference room and online (including a representative of each bidder) identified
themselves and consented to the auction being recorded and the bidders agreed that they
would act in compliance with and by bound by the Bidding Procedures. Each of the
bidders also confirmed that no collusion had occurred prior to the auction.

Based on a pre-auction offer of $2,181,900 from SMI, Radcliff opened the bidding up at
$2,231,900. Bidding was robust and increased at between $50,000 to $100,000
increments until Radcliff bid $3,500,000 and SMI declined bidding further after being
offered the opportunity to do so and being given a short time to take a break and consider
it further.

We concluded by designating the final Radcliff bid of $3,500,000 to be the Successful
Bid under the Bidding Procedures and the last SMI bid of $3,450,000 as the Backup Bid
  Case 1-24-44027-ess        Doc 62     Filed 12/05/24    Entered 12/05/24 16:04:00




under the Bidding Procedures. Both parties were informed of such designations and
made aware of the need to execute new asset purchase agreements at the new purchase
prices, and in the case of Radcliff, the need to increase the deposit to 25% of the
Successful Bid amount.

I hereby certify that the foregoing statements made by me are true. I am aware that if any
of the foregoing statements made by me are willfully false, I am subject to
The auction clerking sheets are attached to this certification.

I hereby certify that the foregoing statements made by me are true. I am aware that if any
of the foregoing statements made by me are willfully false, I am subject to punishment.

/s/ Joshua Olshin
__________________________
Joshua Olshin
12/5/ 2024
